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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  MICHAEL BARRETT BOESEN,

                    Plaintiff,                   Case No.: 2:20-CV-1552
        v.
                                                 Hon. Allyne R. Ross
  UNITED SPORTS PUBLICATIONS, LTD.,

                    Defendant.




        MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION TO
  DISMISS THE AMENDED COMPLAINT AND DEMAND THAT PLAINTIFF POST A
                BOND PURSUANT TO LOCAL CIVIL RULE 54.2




                                          Moish E. Peltz
                                          Paul M. O’Brien
                                          Falcon Rappaport & Berkman PLLC
                                          1185 Avenue of the Americas, Third Floor
                                          New York, New York 10036

                                          265 Sunrise Highway
                                          Suite 50
                                          Rockville Centre, New York 11570
                                          (516) 599-0888
                                          mpeltz@frblaw.com
                                          pobrien@frblaw.com

                                          Counsel for Defendant
                                          United Sports Publications, LTD.
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                                  PRELIMINARY STATEMENT

         Defendant, United Sports Publications, LTD (“Defendant”) respectfully submits this

 memorandum of law in support of its motion to dismiss Plaintiff’s Amended Complaint (the

 “Amended Complaint,” DE 20) pursuant to the Federal Rules of Civil Procedure (“FRCP”) 12(b),

 and for an Order requiring Plaintiff, Michael Boesen (“Plaintiff”) to post a bond as security for

 costs and attorneys’ fees under Local Civil Rule 54.2.

         In his Amended Complaint, Plaintiff alleged that Defendant infringed his copyright in a

 photograph of a young Caroline Wozniacki, a professional tennis player. However, the subject

 photograph is a cropped, low-resolution version of Plaintiff’s alleged copyrighted photograph. Ms.

 Wozniacki posted the photograph at issue to her public Instagram account with a caption

 announcing her retirement from professional tennis. Defendant, a news reporting organization, and

 as part of a news article which reported on Ms. Wozniacki’s retirement, embedded Ms.

 Wozniacki’s entire Instagram post, a portion of which included the cropped, low-resolution

 version of the photograph. Without prior demand or warning, Plaintiff brought suit.

         For the reasons demonstrated below, Plaintiff’s claim of copyright infringement fails as a

 matter of law (and as pleaded) because: (i) Defendant’s uses of the work are protected under the

 doctrine of fair use; and (ii) Plaintiff was late in filing its copyright registration for the photograph

 at issue here and therefore some of the remedies he seeks in the Amended Complaint are

 unavailable to him. Lastly, this Court should enter a bond against Plaintiff.

                                      STATEMENT OF FACTS

         On December 6, 2019, the prominent (and former WTA World No. 1 and Grand Slam

 Champion) professional tennis player Caroline Wozniacki announced her retirement from

 professional tennis in a public post on her verified Instagram account (the “Instagram Post”). Ms.



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 Wozniacki’s Instagram Post included a photograph of herself (the “Photograph”) and a

 corresponding caption announcing and explaining her reasons for her retirement from professional

 tennis (the “Instagram Caption”). DE 20 at ⁋ 16.

        Later that same day, Defendant published a news article on it’s website,

 longislandtennismagazine.com, entitled “Wozniacki Plans to Retire After Australian Open” (the

 “Article”). DE 20 at ⁋ 17. The Article featured approximately 240 words of original commentary

 relevant to the then-breaking news that Ms. Wozniacki had announced her retirement from

 competitive tennis, and embedded the Instagram Post (including its written captions, together with

 a cropped, low-resolution photograph of the then young tennis player Caroline Wozniacki early

 on in her career). The Article also quoted from Wozniacki’s Instagram Caption. Separate from the

 subject photograph, the Article also featured a prominent headline photo of Ms. Wozniacki, which

 is not at issue in this litigation (meaning that the viewers of the Article would first see a larger and

 more prominent photograph of Ms. Wozniacki before reading down to the where the Instagram

 Post was embedded, and seeing the Photograph embedded in the Instagram Post). The Article also

 noted that “Wozniacki made the announcement [of her retirement] in an Instagram post….’”

 Thereafter, as part of the Article, Defendant “embedded” the Instagram Post itself. The following

 is an excerpt from the Article:

                 Former Australian Open champion and world number one Caroline
                 Wozniacki announced on Friday that she will be retiring following
                 the 2020 Australian Open.

                 Wozniacki made the announcement in an Instagram post, and in an
                 appearance on ABC’s “Good Morning America.”

                 “In recent months, I’ve realized that there is a lot more in life that
                 I’d like to accomplish off the court,” she said on Instagram. “Getting
                 married to David [Lee] was one of those goals and starting a family
                 with him while continuing to travel the world and helping raise
                 awareness about rheumatoid arthritis (project upcoming) are all
                 passions of mine moving forward. So with that, today I am

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                 announcing that I will be retiring from professional tennis after the
                 Australian Open in January. This has nothing to do with my health
                 and this isn’t a goodbye, I look forward to sharing my exciting
                 journey ahead with all of you!”

                 Wozniacki began her professional career in 2005, and has
                 accumulated more than 630 singles victories and 30 titles, including
                 her lone Grand Slam title in Melbourne in 2018. That same year, she
                 was diagnosed with rheumatoid arthritis, and battled injuries in 2019
                 where she played only 35 matches.

                 “I want to thank with all my heart, the fans, my friends, my sponsors,
                 my team, especially my father as coach, my husband, and my family
                 for decades of support!,” she said. “Without all of you I could have
                 never done this!”

 DE 20 at ⁋ 17, Emphasis added.

         By embedding the Instagram Post within the Article, Defendant allowed its viewers to read

 Ms. Wozniacki’s actual retirement announcement, as published through her public Instagram Post.

 Thereafter, from the embed, users could view the Instagram Post in-line with the Article. This

 feature of embedding the Instagram Post gave users of Defendant’s Website several additional

 benefits, including the direct ability (i.e., without leaving the Article) to: like, share, archive, read

 user comments, and comment on the Instagram Post. The Instagram Post, as embedded in the

 Article, identified Instagram as the source of the Instagram Post, and allowed users to “click

 through” a hyperlink to view the Instagram Post directly on the Instagram platform itself.

         On March 25, 2020, Plaintiff commenced this action by filing a Complaint (DE 1), and

 thereafter it’s Amended Complaint. DE 20. In the Complaint, Plaintiff alleges that he is the author

 of the Photograph embodied in Ms. Wozniacki’s Instagram Post and claims to be the sole owner

 of all right, title, and interest in the Photograph. DE 20 at ¶¶ 14-15. Further, Plaintiff alleges that

 Defendant’s embedding of the Instagram Post has reproduced and publicly displayed the

 Photograph in a manner amounting to actionable copyright infringement. DE 20 at ¶¶ 21-22.

         The Complaint asserts infringement of Copyright Registration Number VA 2-190-386. DE

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 20 at ¶15, referred to herein as the “Registration”). Review of the public catalog of the Copyright

 Office for the Registration reveals that Plaintiff claims the two photographs described by the

 Registration were created in 2002, and were first published on December 4, 2002. However, the

 claimed effective date of registration for those photographs was not until December 27, 2019,

 approximately 17 years later. December 27, 2019 was only several months before the filing of the

 Complaint (and, importantly, after both Ms. Wozniacki’s Instagram Post and the Article which

 embedded it were published). A review of Plaintiff’s own social media accounts in 2012 and 2017

 shows that Plaintiff previously posted the Photograph at issue on his public Facebook page

 numerous times, although some of those posts have since been deleted. Exhibits A.

         On July 15, 2020, Defendant filed its answer to the Complaint and served a Rule 68 Offer

 of Judgment for the amount of $1,001. Exhibit B. The Rule 68 Offer of Judgment was not accepted

 by Plaintiff. Defendant has not filed an answer to the Amended Complaint.

                                        LEGAL STANDARD

         Rule 12(b)(6) compels dismissal of the Amended Complaint. The standard for assessing

 a motion to dismiss requires that the plaintiff plead sufficient facts “to ‘state a claim to relief that

 is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). While a court must

 “[accept] the allegations contained in the complaint as true and [draw] all reasonable inference in

 favor of the nonmoving party,” Burnette v. Carothers, 192 F.3d 52, 56 (2d Cir. 1999), a

 complaint that offers mere “‘labels and conclusions’ or ‘a formulaic recitation of the elements of

 a cause of action will not do.’” Iqbal, 556 U.S at 678. To survive a motion to dismiss, plaintiff’s

 well-pleaded facts must “plausibly give rise to an entitlement to relief.” Iqbal, 556 U.S. at 679.

         In addition to the well-pleaded “facts stated on the face of the complaint,” on a motion to

 dismiss the Court may consider “documents appended to the complaint or incorporated in the



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 complaint by reference,” and “matters of which judicial notice may be taken.” WestPoint-

 Pepperell, 945 F.2d at 44 (citation omitted). Judicial notice may also be taken of internet

 materials, including websites and social media posts. See supra n. 1, 3.

                            ARGUMENT ON MOTION TO DISMISS

                                 POINT I
  PLAINTIFF’S CLAIM OF COPYRIGHT INFRINGEMENT FAILS AS A MATTER OF
    LAW BECAUSE FAIR USE IS A COMPLETE DEFENSE TO ALLEGATIONS OF
                             INFRINGEMENT

          Defendant is a newsgathering organization, and it’s reporting of Ms. Wozniacki’s

 retirement announcement is protected by the First Amendment and the doctrine of fair use.

 “Numerous courts in this district have resolved the issue of fair use on a motion for judgment on

 the pleadings by conducting a side-by-side comparison of the works at issue.” Lombardo v. Dr.

 Seuss Enterprises, L.P., 279 F.Supp.3d 497, 504 (S.D.N.Y. 2017), aff’d, 729 F. App’x 131 (2d Cir.

 2018).

          When determining whether a secondary use of a copyrighted work is protected under the

 doctrine of fair use, a court considers the following factors, “(1) the purpose and character of the

 use, including whether such use is of a commercial nature or is for nonprofit educational purposes;

 (2) the nature of the copyrighted work; (3) the amount and substantiality of the portion used in

 relation to the copyrighted work as a whole; and (4) the effect of the use upon the potential market

 for or value of the copyrighted work.” 17 U.S.C. § 107.

          Considering the familiar fair use factors, Defendant’s use of the Photograph is protected

 under the fair use doctrine, especially given its factual and informational content published by a

 newsgathering organization.

             A. Purpose and Character of Use

          The purpose and character of the use factor involves three subfactors, namely whether the

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 use is, (i) transformative; (ii) for commercial purpose; or (iii) in bad faith. See NXIVM Corp. v.

 Ross Inst., 364 F.3d 471, 477-78 (2d. Cir. 2004).

               i.   Transformative

        To determine if a secondary use is transformative courts look at “whether the new work

 merely supersedes the objects of the original creation … or instead adds something new, with a

 further purpose or different character, altering the first with new expression, meaning, or message.”

 Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 579 (1994). A display of a copyrighted image

 “may be transformative where the use served to illustrate criticism, commentary, or a news story

 about that work.” Barcroft Media, Ltd. v. Coed Media Grp., LLC, 297 F.Supp.3d 399, 352

 (S.D.N.Y. 2017).

        A use is transformative if it does something more than repackage or republish the original

 copyrighted work.” Authors Guild, Inc. v. HathiTrust, 755 F.3d 87, 96 (2d Cir. 2014). “[T]he

 critical inquiry is whether the new work uses the copyrighted material itself for a purpose, or

 imbues it with a character, different from that for which it was created.” TCA Television Corp. v.

 McCollum, 839 F.3d 168, 180 (2d Cir. 2016).

        Applying that standard, Defendant’s use of Ms. Wozniacki’s public Instagram Post, which

 displayed a version of the Photograph, is clearly transformative. Primarily, the use of the

 copyrighted material plainly falls within one of the permitted statutory examples of transformative

 use, namely, news reporting. Plaintiff embedded Ms. Wozniacki’s Instagram post for the purpose

 of truthfully indicating to its readers the origin of the breaking news of Ms. Wozniacki’s

 retirement, namely her announcement of her retirement via the Instagram Post. The Article was

 further transformative of the Instagram Post given that the Article analyzed and commented on the

 Instagram Post, reported on Ms. Wozniacki’s successful career as a tennis player, and her stated



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 rationale offered for her retirement from the sport (as illustrated by her usage of a photo from early

 in her career).

         This matter is similar to Walsh v. Townsquare Media, Inc., 2020 WL 2837009, (S.D.N.Y.

 2020). In Walsh, the court found that an online news outlet’s use of a photograph in an Instagram

 post that was embedded in a news article was transformative. Walsh, 2020 WL 2837009, at *5.

 The article at issue in Walsh included three separate embedded Instagram posts made by the

 fashion icon Tom Ford and celebrity rapper Cardi B. Id. at * 2. XXLmag.com posted an article

 which discussed Cardi B’s collaboration with Tom Ford, critics’ reactions to the partnership, and

 Cardi B’s then-recent altercations with other celebrities. Id. Plaintiff Walsh sued XXL alleging

 infringement of her photographs of Cardi B at New York Fashion Week, relating to XXL’s

 unlicensed publication of her photographs. The court held that the “Defendant published the Post

 in order to provide readers with the original social media interactions reported on by the Article,

 and included the Photograph as a necessary part of the Post” and found in favor of fair use. Id. at

 *5.

         Like defendant XXL in Walsh, United Sports Publications’ use of the Instagram Post,

 incidentally featuring the Photograph, was integral to its news reporting, and its use of the original

 social media post was instrumental to orient its readers as to the origin of the news it was reporting,

 the newsworthy Instagram Post itself.

         Further, like the defendant in Walsh, United Sports Publications did not publish the

 Photograph for the purpose of presenting the content of the Photograph itself (i.e., a young

 Wozniacki playing tennis). Rather, Defendant embedded the entire Instagram Post, which

 incidentally contained the Photograph, because the Instagram Post (i.e., the breaking news that

 Ms. Wozniacki was retiring from tennis) was the very thing that Defendant was reporting upon.



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 See Id. (“Defendant published the Post in order to provide readers with the original social media

 interactions reported on by the Article, and included the Photograph as a necessary part of the

 Post.”). The Court in Walsh further held that, “[m]erely displaying the Post without the Photograph

 would have been nonsensical in appearance as well as potentially impossible, given that the Post

 is embedded and hyperlinked, rather than inserted as an image.” Id.

        Based on the foregoing and the Southern District’s decision in Walsh, it is evident that

 Defendant’s use is transformative.

              ii.   Commercial Benefit

        While Plaintiff might argue that Defendant used the Photograph to achieve a commercial

 benefit, since Defendant is a for-profit publisher, this sub-factor is of less significance when the

 use of the work is transformative. Blanch v. Koons, 467 F.3d 244, 254 (2d Cir. 2006) (if the work

 is “substantially transformative”, the “other factors, including commercialism, are of less

 significance”). Further, the Supreme Court has “stated that ‘‘[t]he crux of the profit/nonprofit

 distinction is not whether the sole motive of the use is monetary gain but whether the user stands

 to profit from exploitation of copyrighted material without paying the customary price. BWP

 Media USA, Inc., 196 F. Supp. 3d at 407–08 (quoting Harper & Row Publishers, Inc. v. Nation

 Enterprises, 471 U.S. 539, 562 (1985).

        Defendant did not use the Photograph as a photo, but only as it was embedded within the

 Instagram Post, and below another headline photo of Ms. Wozniacki. Resultingly, there would

 be little, if any, commercial benefit to Defendant from using the Photograph. Even then, it is not

 of importance if Defendant profits from the Article since its use was transformative, outweighing

 the commercial nature of its use.

             iii.   Bad Faith



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        It is beyond comprehension to presume that Defendant acted in bad faith in embedding the

 Instagram Post at issue here. In the day and age of social media, newsworthy events are shared and

 re-shared by countless Internet users and news outlets on a daily basis. Often times, the most

 effective means of sharing that news in real time, and to foster debate and conversation about such

 newsworthy events, is to embed the very social media content that the buzz is all about. Embedding

 other social media posts is a crucial part of allowing the smooth functioning of the Internet, and

 finding such ordinary conduct to be in bad faith would Plaintiff alleges only boilerplate allegations

 of bad faith, supposing that bad faith is evident because Defendant used the Photograph without

 Plaintiff’s consent. When Defendant embedded Ms. Wozniacki’s Instagram Post, Defendant had

 no way of knowing that the Photograph may have been owned by Plaintiff, nor that Ms.

 Wozniacki’s Instagram Post would have contained an apparently unlicensed photograph.

        Further, Defendant in no way attempted to take credit for the Photograph. Defendant

 included the entire Instagram Post in its Article and provided a link back to that Instagram Post,

 which included the Photograph. Viewers of the Article can easily ascertain that the Photograph

 was originally posted on Instagram through Ms. Wozniacki’s public Instagram Account. As such,

 Defendant did not act in bad faith.

        Instead it is clear that through this litigation, it is Plaintiff that is acting in bad faith. Plaintiff

 alleges that Ms. Wozniacki was not licensed to use the Photograph. See DE 20 at ⁋ 16. If Ms.

 Wozniacki was not licensed to use the Photograph, then Plaintiff failed to exercise reasonable

 remedies available to him to quickly and efficiently remove the photo from the Instagram platform

 by taking actions aimed at the source of the public posting of the Photograph on Instagram – Ms.

 Wozniacki. For example, Plaintiff could have submitted a DMCA complaint directly through

 Instagram (https://help.instagram.com/697328657009330?helpref=uf_permalink ) which would



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 have quickly compelled Instagram to take down the photo and immediately removed the

 Photograph from being used on the Instagram platform, whether as an embed or otherwise.

 Plaintiff could have directly sued Ms. Wozniacki for infringement, and sought damages or

 injunctive relief to remove the photograph from Instagram (and the Court may take judicial notice

 that no such case appears on any docket). Therefore, this Court must reach the conclusion that

 Plaintiff is acting in bad faith and has no actual interest in removing the photo from the internet,

 and is instead intentionally allowing the Photograph to remain up on the Instagram Post, and

 instead operating under a scheme to extort news organizations that report on the Instagram Post.


            B. Nature of the Work

        To determine whether the nature of the copyrighted work supports a finding of fair use,

 courts look to “(1) whether the work is expressive or creative, ... with a greater leeway being

 allowed to a claim of fair use where the work is factual or informational, and (2) whether the work

 is published or unpublished, with the scope for fair use involving unpublished works being

 considerably narrower.” Cariou v. Prince, 714 F.3d 694, 709 (2d Cir. 2013) (quoting (internal

 citations omitted). The Second Circuit has determined that this “factor has rarely played a

 significant role in the determination of a fair use dispute.” Authors Guild v. Google, Inc., 804 F.3d

 202, 220 (2d Cir. 2015).

        Here, the Photograph was previously published in various newspapers and/or magazines

 and was available on Plaintiff’s public Facebook page (presumably, for several years) and Ms.

 Wozniacki’s public Instagram account. Additionally, the Photograph has been in existence for at

 least ten years. Nothing about the nature of the Photograph disturbs a finding of fair use. See Arica

 Inst., Inc. v. Palmer, 970 F.2d 1067, 1078 (2d Cir. 1992) (finding published work available to the




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 general public generally favors a determination of fair use). As such, this factor counts in

 Defendant’s favor.

             C. Amount and Substantially of the Use in Question

         This factor considers “the amount and substantiality of the portion used in relation to the

 copyrighted work as a whole” (17 U.S.C. § 107) and askes “whether the quantity and value of the

 materials used [ ] are reasonable in relation to the purpose of the copying.” Cariou, 714 F.3d at

 710.

         Defendant’s use of the Photograph supports a finding of fair use as it “employs no more of

 the copyrighted work than is necessary” and the copying was [not] “excessive in relation to any

 valid purposes asserted under the first factor.” Campbell, 510 U.S. at 586–87. Use of the entire

 original work is fair when the use is for a news story or transformative to illustrate a historical fact.

 Again, as discussed above, Defendant used no more of the Photograph as necessary to report the

 news of Ms. Wozniacki’s retirement. See Nunez v. Caribbean Int'l News Corp., 235 F.3d 18, 24

 (1st Cir. 2000) (while the Defendant “admittedly copied the entire picture; however, to copy any

 less than that would have made the picture useless to the story. As a result …we count this factor

 as of little consequence to our analysis.”). And again, the embedding of the Instagram Post did

 not replace the use of a headline photo of Ms. Wozniacki, because defendant included a separate

 photo of Ms. Wozniacki above the embedded Instagram Post.

             D. Potential Effect of the Use on the Market or Value

         This factor “focuses on whether the copy brings to the marketplace a competing substitute

 for the original, or its derivative, so as to deprive the rights holder of significant revenues because

 of the likelihood that potential purchasers may opt to acquire the copy in preference to the original.

 Capitol Records, LLC v. ReDigi Inc., 910 F.3d 649, 662 (2d Cir. 2018) (quoting TVEyes, 883 F.3d



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 at 179); see also, Blanch, 467 F.3d at 258 quoting, NXIVM Corp., 364 F.3d at 482 (“In considering

 the fourth factor, our concern is…whether the secondary use usurps the market of the original

 work.”).

        The Supreme Court has held that this factor is “undoubtedly the single more important

 elements of fair use” (quoting Harper & Row Publishers, Inc., 471 U.S. at 566).

        It is implausible to believe Defendant’s use of the Photograph in its embedded post would

 supplant the market, for licensing the Photograph. Defendant used a cropped, low-resolution

 version of the Photograph as embodied in the Registration. Further, Defendant did not use the

 Photograph alone. The Photograph is shown through Ms. Wozniacki’s Instagram Post and

 Defendant’s use contains, among other items, Ms. Wozniacki’s Instagram handle and the caption

 she posted along with the Photograph. See Walsh, 2020 WL 2837009 at *8 (“Here, because the

 Photograph did not appear on its own, but as part of the Post, alongside text and another image, it

 is implausible that Defendant's use would compete with Plaintiff's business or affect the market or

 value of her work.”).

        It is simply inconceivable that that someone looking to license or purchase the Photograph

 would turn to Defendant’s Article including the embedded Instagram Post, featuring a cropped,

 low-resolution version of the Photograph instead of the Photograph itself, especially as Plaintiff

 has himself already freely posted it to the Facebook platform. Even if any market or value of the

 Photograph was diminished, it would be diminished by the use made by Ms. Wozniacki in her

 Instagram Post, not the corresponding embedding of the Instagram Post by Defendant.

        Lastly, Plaintiff has posted the Photograph to his public Facebook several times, further

 confirming that there is little to no value in the public posting of these photos on Facebook or

 Instagram:



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           .


 See Exhibit A.


               E. Totality of Factors

        Based on the foregoing factors, is it evident that Defendant’s use was fair as a matter of

 law. Defendant’s use was transformative, the work was already published, and there is no plausible

 risk to any market for licensing of the original Photograph.




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                               POINT II
  PLAINTIFF’S DEMAND FOR STATUTORY FEES AND ATTORNEY FEES FAILS AS
   A MATTER OF LAW DUE TO PLAINTIFF’S LATE COPYRIGHT REGISTRATION

        17 U.S.C.A § 412 provides in relevant part that “no award of statutory damages or

 attorney’s fees, as provided by section 504 and 505, shall be made for … (2) any infringement of

 copyright commenced after first publication of the work and before the effective date of its

 registration, unless such registration is made within three months after the first publication of the

 work.” 17 U.S.C.A § 412.

        Plaintiff asserts infringement of Copyright Registration Number VA 2-190-386. Review

 of the public catalog of the Copyright Office for this registration number reveals that the two

 photographs described by this registration were created in 2002, and were first published on

 December, 4 2002. The effective date of registration for these photographs was not until December

 27, 2019, approximately 17 years later. See DE 20, Exhibit C.

        Plaintiff alleges that Defendant infringed on his copyright when Defendant ran the Article

 embedding the Instagram Post, which featured the Photograph on December 9, 2019, 18 days prior

 to the effective registration date. Because the registration was not made within three months after

 the first publication of the work, 17 U.S.C.A. § 412 directly applies here.

        Therefore, pursuant to 17 U.S.C.A § 412, Plaintiff is barred from collecting statutory

 damages, punitive damages, and attorneys’ fees as demanded in paragraph 24, and in the Prayer

 for Relief (4-5) of the Amended Complaint. Correspondingly, this Court should dismiss the

 Complaint, at least in part, to the extent it seeks statutory damages, punitive damages, and

 attorneys’ fees.


                            ARGUMENT ON MOTION FOR BOND

     PLAINTIFF SHOULD BE REQUIRED TO POST A BOND IN THE AMOUNT OF
     $50,000 AS SECURITY FOR DEFENDANT’S COSTS AND ATTORNEYS’ FEES
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        Local Civil Rule 54.2 provides that “the Court, on motion or its own initiative, may order

 any party to file an original bond for costs or additional security for costs in such an amount and

 so conditioned as it may designate. “Generally, in ordering a bond for costs, courts consider (1)

 the non-movant's financial condition and ability to pay; (2) whether that party is a non-resident or

 foreign corporation; (3) the merits of the action; (4) the extent and scope of discovery; (5) the

 expected legal costs to be incurred; and (6) the non-movant's compliance with prior court orders.”

 N'Jai v. New York State Higher Educ. Services Corp., 214 F.R.D. 251, 251-52 (E.D.N.Y. 2003);

 see also Teri v. Oxford Mgt. Services, Inc., 2013 WL 132660, at *2 (E.D.N.Y. 2013).

        A. Plaintiff’s Claim is Meritless

        As demonstrated above, Plaintiff’s claim lacks merit making Defendant the likely

 prevailing party and entitling Defendant to costs and attorneys’ fees. See, Selletti v. Carey, 173

 F.3d 104, 110 (2d Cir. 1999) (costs and attorney's fees may be awarded to the prevailing party in

 a copyright action). As alleged in the Amended Complaint (DE 20 at ⁋ 5), Plaintiff is domiciled in

 Denmark which would make it difficult to enforce a New York judgment against him. See e.g.,

 Sadhu Singh Hamdard Tr. v. Ajit Newspaper Adv., Mktg. & Communications, Inc., 2008 WL

 11415934, at *3 (E.D.N.Y. 2008).

        B. Other Factors to Consider

        Multiple courts, on their own initiative, have ordered Mr. Liebowitz to show cause why he

 should not be required to post security for costs as a condition of proceeding further with an action.

 See, e.g., Pereira v. Kendall Jenner, Inc., 17-cv-6945, Dkt. No. 16 (S.D.N.Y. 2017) (Mr.

 Liebowitz voluntarily dismissed the case before responding to the Judge Abrams' Show Cause

 Order); Cruz v. Am. Broad. Cos., 2017 WL 5665657, (S.D.N.Y. 2017) (Mr. Liebowitz informed

 the court that the parties had settled the case before responding to Judge Kaplan’s Show Cause

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 Order); see also Tabak v. Idle Media, Inc., No. 17-cv-8285 (AT) (Oct. 31, 2017) (Judge Torres

 ordered Mr. Liebowitz to show cause why the action should not be transferred. Mr. Liebowitz

 voluntarily dismissed the case before responding to the Order to Show Cause.)

          Moreover, the Liebowitz Law Firm is notorious for filing thousands of copyright cases,

 many of which were determined to be meritless or were suspected to have been filed without

 investigation of the veracity of the claims, the amount of potential recovery, and the available

 defenses. See, e.g., Cruz, 2017 WL 5665657, at *2; n.11 (on the court's own motion, ordering

 plaintiff to show cause why a security bond should not be imposed due to the apparent strength of

 a fair use defense); Konangataa v. NBCUniversal Media, LLC, 2017 WL 2684067, at *2 (S.D.N.Y.

 2017) (awarding defendants their attorneys' fees in a case that "no reasonable lawyer with any

 familiarity with the law of copyright could have thought that [the use at issue] . . . was anything

 but fair"); Janik v. Spin Media, Inc., 2017 WL 6021644, at *1 (S.D.N.Y. 2017) (plaintiff

 represented by Mr. Liebowitz voluntarily dismissed his case with prejudice). Defendant also points

 the Court to DE 8 filed on this docket by Plaintiff’s counsel.

          C. FRCP Rule 68’s Cost-Shifting Provision

          Notwithstanding the above, even if Plaintiff is the prevailing party, Plaintiff will still be

 required to pay Defendant’s attorneys’ fees due to the cost-shifting provision of Rule 68. “Under

 Rule 68 of the Federal Rules of Civil Procedure, a party “may serve on an opposing party an offer

 to allow judgment on specified terms, with the costs then accrued.” [ ] If the judgment ultimately

 obtained by the plaintiff “is not more favorable than the unaccepted offer, the offeree must pay the

 costs incurred after the offer was made.” In a copyright action, “costs” includes attorneys' fees”.

 Lee v. W Architecture and Landscape Architecture, LLC, 2019 WL 2272757, at *4 (E.D.N.Y.

 2019).



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        As argued above, due to Plaintiff’s late registration of its copyright, Plaintiff is limited to

 collecting its actual costs (and any demand for statutory damages or attorneys’ fees should be

 dismissed or struck from the Complaint, as argued, supra in Section II). As depicted on Plaintiff’s

 website, the costs to download Plaintiff’s sport photographs is approximately $11.77. Exhibit D.

 A typical commercial license fee for such a photo would be in a similar range. Thus, in the event

 that Plaintiff does prevail on his claim, it is evident that his actual costs (a purported license fee)

 will be much less then Defendant’s Rule 68 offer which was for the amount of $1,001, making

 Plaintiff liable to Defendant for Defendant’s costs and attorneys’ fees. Even if this Court does not

 entirely dismiss Plaintiff’s Complaint, this Court should still require Plaintiff to post a bond until

 the conclusion of this action.

        An appropriate amount of a bond would be $50,000 based upon a reasonable expectation

 of litigation costs that Defendant will incur to defend this case through summary judgment or trial.

                                           CONCLUSION

        Based on the foregoing, Defendant is entitled to (i) a dismissal of the Amended

 Complaint as a matter of law pursuant to the Federal Rules of Civil Procedure Rule 12(b); (ii) an

 award attorneys' fees and costs as prevailing parties pursuant to 17 U.S.C. § 505; and (iii) an

 Order requiring Plaintiff, Plaintiff to post a bond as security for costs and attorneys’ fees under

 Local Civil Rule 54.2.



                                                        Respectfully submitted,

                                                        Falcon Rappaport & Berkman, PLLC

                                                        /s/Moish E. Peltz
                                                        By:    Paul M. O’Brien (PO1990)
                                                               Moish E. Peltz
                                                               Attorneys for Defendant
                                                        1185 Avenue of the Americas, Third Floor

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                                            New York, New York 10036

                                            265 Sunrise Highway, Suite 50
                                            Rockville Centre, New York 11570




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